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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

 CHIANNE D., et al.                              CASE NO. 3:23-cv-985-MMH-LLL
 v.
 JASON WEIDA, in his official capacity
 as Secretary for the Florida Agency
 for Health Care Administration, et al.

 Counsel for Plaintiffs:                     Counsel for Defendants:
 Katherine DeBriere                          Andy Bardos
 Sarah Grusin                                James Moore
 Lynn Hearn                                  Ashley Lukis
 Miriam Harmatz
 Amanda Avery

                 HONORABLE MARCIA MORALES HOWARD
                    UNITED STATES DISTRICT JUDGE

 Courtroom Deputy: Jodi L. Wiles                   Court Reporter: Katharine Healey


                                CLERK’S MINUTES

PROCEEDINGS OF: STATUS CONFERENCE (VIA ZOOM)

The parties anticipate 5 days for trial.

The Court will hold the weeks of April 29, 2024, and May 13, 2024, for trial.

Counsel for Plaintiffs shall confer with their expert to confirm that she will be
available to testify at the trial via Zoom if it is set for the week of May 13, 2024, and
counsel for Defendant shall confirm that Defendants will not object. Counsel shall
have until December 22, 2023, to confer regarding these matters.

The Court waives the filing of Proposed Findings of Fact and Conclusions of Law.

Plaintiffs shall submit a new proposed order by January 5, 2024.

The parties shall have until December 29, 2023, to file an Amended Case
Management Report.




Date: December 21, 2023         Time: 10:02 a.m. – 10:23 a.m.         Total: 21 Minutes
